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                        IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF SOUTH CAROLINA

                                           Charleston Division

 GREGORY LASKY,                                                        2:19-cv-01601-DCN
                                                      Civil Action No: ___________

                              Plaintiff,         [State Court Case No. 2019-CP-10-1565]

 v.
                                                        NOTICE OF REMOVAL
 SCG PATRIOTS PLAZA, L.P.,

                              Defendant.



TO THE HONORABLE JUDGE OF THE DISTRICT COURT OF THE UNITED STATES
FOR THE DISTRICT OF SOUTH CAROLINA, CHARLESTON DIVISION:

         The Defendant, SCG Patriots Plaza, L.P. (“Defendant”), by way of removal, pursuant to
28 U.S.C. § 1331, §1441(a) and (b), and §1446(a), (b) and (d), would respectfully show unto this
Court:
      1. This action was commenced by the filing of a Summons and Complaint on March 27, 2019,
in the Court of Common Pleas for Charleston County, South Carolina. The Summons and
Complaint were served on the Defendant on May 6, 2019. The action is now pending in the Court
of Common Pleas for Charleston County, South Carolina, which is located within the Charleston
Division of this Court by reason of 28 U.S.C. § 121(2). The Complaint alleges claims pursuant to
the Americans with Disabilities Act, 42 U.S.C. § 12101, et seq (the “ADA”). The Complaint does
not contain any other allegations outside of alleged violations of the ADA.
      2. Thirty days have not elapsed since the receipt of the Complaint by Defendant upon whom
it has been served and one year has not elapsed since the commencement of the state court action.
The Defendant has not yet answered or pled responsively to the Complaint.
      3. Pursuant to 28 U.S.C. §1441(a), the Defendant may remove to the District Court of the
United States, for the district and division embracing the place where such action is pending, any
civil action brought in a state court of which the district courts of the United States have original
jurisdiction. Pursuant to 28 U.S.C. §1441(b), any civil action of which the district courts have
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original jurisdiction founded on a claim or right arising under the Constitution or laws of the United
States shall be removable without regard to the citizenship or residence of the parties.
   4. By virtue of 28 U.S.C. §§1331 and 1343(a), the United States District Court has original
jurisdiction of any civil action for a claim under the ADA, 42 U.S.C. §12101, et seq.
   5. By virtue of the foregoing, the Defendant hereby removes this action to the United States
District Court for the District of South Carolina, Charleston Division.
   6. Though none are asserted in the Complaint, this Court also has supplemental jurisdiction
over any state law claims which derive from a common nucleus of operative fact with the Federal
law claims. United Mine Workers v. Gibbs, 383 U.S. 715, 86 S.Ct. 1130, 16 L.E.2d 218 (1966).
   7. The Defendant files herewith in this Court a copy of all process, pleadings and orders
served by or upon them in this action, as a part of the Notice of Removal, which consists of the
Summons and Complaint filed March 27, 2019.
   8. The Clerk of Court for Charleston County, South Carolina, from which this action is
removed, and Plaintiff’s counsel shall be promptly given written Notice that the Removal has been
filed and shall be provided a copy of the Notice of Removal.
       WHEREFORE, the Defendant prays that this Notice of Removal be accepted as sufficient
for removal of this action to this Court.


                                                      By:     /s/ Jacob S. Barker

                                                      Jacob S. Barker
                                                      Federal Bar No. 10375
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                                                      Counsel for Defendant
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 4th day of June, 2019, a true copy of the foregoing will be filed
with the Court’s CM/ECF System, which will generate a notice of electronic filing, to all counsel
of record and that I will cause the foregoing to be served on Gregory Lasky in accordance with
Rules 4 and 5 of the Federal Rules of Civil Procedure.



                                                             s/ Jacob S. Barker
                                                      Jacob S. Barker
                                                      Federal Bar No. 10375
                                                      Graybill, Lansche & Vinzani, LLC
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                                                      Charleston, South Carolina 29492
